J. D. &amp; A. B. SPRECKLES COMPANY, PETITIONER, v. COMMISSIONER OF INTERNAL REVENUE, RESPONDENT.J. D. &amp; A. B. SPRECKLES CO. v. COMMISSIONERDocket No. 90390.United States Board of Tax Appeals41 B.T.A. 370; 1940 BTA LEXIS 1197; February 14, 1940, Promulgated *1197  The parent corporation of an affiliated group of corporations acquired all the stock of X corporation in the taxable year.  The acquisition and ownership of the stock of X corporation was without any business purpose.  Held, the X corporation was not a member of the affiliated group of corporations within the intent of section 141 of the Revenue Act of 1932.  Herbert W. Clark, Ewq., and Leon de Fremery, Esq., for the petitioner.  T. M. Mather, Esq., for the respondent.  HARRON *370  The respondent determined a deficiency in Federal income tax for the calendar year 1933 in the amount of $62,440.90, against petitioner and its affiliated corporation.  The sole issue is whether a corporation whose stock was owned by the petitioner was a member of the affiliated group, within the intent of section 141 of the Revenue Act of 1932.  Other issues have been settled by stipulation, and other determinations made by the respondent are not contested.  The facts have been stipulated.  We make the following findings of fact with respect to the one issue before the Board for determination.  FINDINGS OF FACT.  Petitioner is a corporation wiich was organized*1198  under the laws Petitioner is a corporation which was organized under the laws The entire capital stock of the petitioner and of another corporation, the J. D. and A. B. Spreckels Securities Co., hereinafter referred to as the Securities Co., was owned by members of the Spreckels family in the same proportions.  For the years 1927 and 1928, consolidated Federal income tax returns were filed for the two corporations.  From the time of the organization of petitioner until February 20, 1933, the Securities Co. owned the entire issued and outstanding capital stock of the Savage Tire Co., hereinafter referred to as the Tire Co.  In the years prior to 1927, the Tire Co. sustained substantial operation losses.  In 1927, the manufacturing operations of the Tire Co. were discontinued, and from that time until 1930 or 1931 the Tire Co. rented its plant to others.  In 1931 the Securities Co. considered the capital stock of the Tire Co. to be worthless, and wrote down the book investment in the stock from $9,175,149.94 to $1.  In the separate Federal income tax return of the Securities Co. for 1931, Which showed a net loss of *371  $9,191,922.25, the Securities Co. took a deduction*1199  for the amount of the loss sustained by it from its investment in the stock of the Tire Co.During the calendar year 1932 the Tire Co. had a gross income of $1,175 from storage rentals.  In November 1932 representatives of the Tire Co. entered into negotiations with representatives of the Aztec Brewing Co., hereinafter referred to as the Brewing Co., for the sale of the Tire Co.'s plant, consisting of land and the improvements thereon.  On November 22, 1932, the representatives of the Tire Co. contracted to sell the plant to the Brewing Co. for $50,000.  On November 25, 1932, a payment of $5,000 on account of the selling price was made on behalf of the Brewing Co.  The payment was evidenced by a deposit receipt.  At the foot of the deposit receipt the representative of the Brewing Co. agreed to purchase the plant and the representatives of the Tire Co. agreed to sell the plant on the terms and conditions stated in the deposit receipt.  The deposit receipt provided in part as follows: The balance of the purchase price is to be paid within days from date hereof, as follows, to-wit: Twenty Thousand ($20,000) Dollars cash to be paid on or before ninety days from December 1st,*1200  1932, and the balance of Twenty Five Thousand ($25,000) Dollars to be in the form of a note secured by mortgage for three (3) years from Dec. 1st 1932 with interest at the rate of four (4) per cent per annum, payable quarterly.  Seller to pay first installment of 1932-1933 State, County and City Taxes.  Buyer to pay second installment of said taxes.  In the event that seller shall not perfect or be able to perfect title as provided in Paragraph Second hereof, its liability is limited to the return to buyer of said deposit.AND IT IS HEREBY AGREED: First - That in the event said purchaser shall fail to pay the balance of said purchase price or complete said purchase as herein provided, the amounts paid hereon shall, at the option of the seller, be retained as liquidated and agreed damages.  Second - That in the event the title to said property shall not prove merchantable and said seller shall not perfect, or be able to perfect, the same within a reasonable time from this date, the purchaser shall have the option of demanding and receiving back said deposit and shall be released from all obligation hereunder.  Third - That the evidence of title is to be in the form of (a) *1201 Policy of Title Insurance issued by a responsible title company and to be furnished and paid for by the (b) Seller.Fourth - That in the event the improvements on said described premises should be destroyed or materially damaged between the date hereof and consummation or settlement of this purchase, this contract shall at purchaser's election immediately become null and void and said deposit shall be returned to said purchaser on demand.  Fifth - That the taxes for the current fiscal year ending June 30th, following this date, and the insurance, rents and other expenses of said property shall be prorated from date of delivery of deed or final contract of sale, and that the property is sold subject to approval of owner.  Sixth - Time is the essence of this contract but the time for any act required *372  to be done may be extended not longer than thirty days by (c) .  [The words italicized are typewritten onto the printed form.] In order to enable the Tire Co. to perfect its title to the plant, the Securities Co. surrendered to the Tire Co. bonds of the Tire Co. of the par value of $500,000 for cancellation, and caused the release of a general mortgage on the*1202  plant which existed as security for the bonds.  In exchange for the bonds surrendered, the Securities Co. received notes of the Tire Co.  Thereafter, a title insurance policy was issued by the Union Title Insurance Co. of San Diego.  During the taxable year 1933 the Securities Co. wrote down its investment in the bonds of the Tire Co. from $450,094.44, the cost of the bonds to the Securities Co., to $50,000.  In its separate income tax return for the taxable year, which showed a net loss of $1,724,419.53, the Securities Co. took a deduction of $400,094.44 as the loss sustained by it from its investment in the bonds of the Tire Co.On February 20, 1933, the Tire Co. executed a deed conveying the plant to the Brewing Co., and the Brewing Co. executed a mortgage on the plant to the Tire Co.  Both instruments were deposited in escrow with the Union Title Insurance Co.  The insurance company was instructed that when it received from the Brewing Co. $20,000 in cash and $25,000 in interest-bearing notes of the Brewing Co., payable in three years from December 1932, in addition to the mortgage executed by the Brewing Co. as security for the notes, it was to deliver the deed to the plant*1203  to the Brewing Co.On February 20, 1933, petitioner acquired all the issued and outstanding capital stock of the Tire Co. from the Securities Co. for $1.  On March 1, 1933, the Brewing Co. was unable to make the payment of $20,000 in cash as provided in the deposit receipt, and the time for making the payment was extended by the Tire Co.  On April 5, 1933, the Brewing Co. paid $20,000 in cash to the Union Title Insurance Co.  On the same date the insurance company delivered to the Brewing Co. the deed to the plant, and delivered to the Tire Co. (1) the balance of the $20,000, after the deduction of escrow fees; (2) the note of the Brewing Co. in the amount of $25,000; and (3) the mortgage on the plant.  On the sale of its plant, the Tire Co. sustained a loss of $192,849.80.  For the period covering the months of January and February 1933, the Tire Co. filed a separate Federal income tax return.  For the taxable year petitioner and its affiliated corporations filed a consolidated Federal income tax return, which included the income of the Tire Co. for the 10-month period beginning March 1, 1933.  The consolidated return showed a consolidated net income of $612,686.23, and*1204  a net income tax liability of $82,283.24.  A deduction of $191,268.52 was taken in the consolidated return as the net loss sustained *373  by the Tire Co. during the last 10 months of the taxable year.  In the computation of the amount of the deduction, the loss of $192,849.80 sustained by the Tire Co. on the sale of the plant was included.  The consolidated return showed that during the last 10 months of the taxable year the Tire Co. had a gross income of $3,584.62 and an operating net income of $1,581.28, and a net loss of $191,268.52, which net loss included the loss of $192,849.80 resulting from the sale of the Tire Co.'s plant to the Brewing Co.The respondent disallowed the deduction of the net loss of the Tire Co. on the ground that the Tire Co. was not a member of the affiliated group.  The Tire Co. filed a separate Federal income tax return for the calendar year 1934, in which it reported a gross income of $888.90 and a taxable net income of $599.45, and a separate Federal income tax return for the calendar year 1935, in which it reported an operating net loss of $80.70.  The Tire Co. was dissolved on December 23, 1935.  OPINION.  HARRON: The principal issue*1205  for determination is whether or not the Tire Co. was a member of the affiliated group of corporations of which petitioner was the parent, within the intent of section 141 of the Revenue Act of 1932, during the last 10 months of 1933.  In the consolidated return filed by petitioner and its affiliated corporations for the calendar year 1933, a deduction was taken for a net loss of $191,268.52, claimed to have been sustained by the Tire Co. during the period in question.  The respondent disallowed the deduction on the ground that the Tire Co. was not a member of the affiliated group, within the intent of the statute, during the period in question.  The provisions of section 141 of the Revenue Act of 1932, in so far as they are pertinent to the question here presented, are as follows: (a) PRIVILEGE TO FILE CONSOLIDATED RETURNS. - An affiliated group of corporations shall, subject to the provisions of this section, have the privilege of making a consolidated return for the taxable year in lieu of separate returns.  * * * * * * (d) DEFINITION OF "AFFILIATED GROUP". - As used in this section an "affiliated group" means one or more chains of corporations connected through stock ownership*1206  with a common parent corporation if - (1) At least 95 per centum of the stock of each of the corporations (except the common parent corporation) is owned directly by one or more of the other corporations; and (2) The common parent corporation owns directly at least 95 per centum of the stock of at least one of the other corporations.  Petitioner contends that it was the owner of all of the capital stock of the Tire Co. during the period from February 20 to *374  December 31, 1933, and that, therefore, the sole test of affiliation provided by the statute was satisfied.  The parties litigant have stipulated that on February 20, 1933, petitioner acquired all of the capital stock of the Tire Co. from the Securities Co. for $1, and that petitioner "remained the owner" of the stock until the Tire Co. was dissolved on December 23, 1935.  For the purpose of this proceeding, it is assumed that petitioner was the owner, both in fact and in law, of all of the capital stock of the Tire Co. during the period in question.  Respondent asserts that the Tire Co. was not a member of the affiliated group within the intent of the statute, because of the fact that petitioner's ownership of*1207  the stock of the Tire Co. did not serve a business purpose, as distinguished from a tax-reducing purpose.  The first question raised by respondent's contention is one of statutory construction as to whether or not the framers of the statute intended that the privilege of making consolidated returns may be enjoyed in cases where the affiliation does not serve a business purpose, as distinguished from a tax-reducing purpose.  If it should be decided that the framers of the statute intended that the privilege may be enjoyed in such cases, it will not be necessary to pass upon the remaining question of fact as to whether or not the affiliation which is involved here served a business purpose, as distinguished from a tax-reducing purpose.  The privilege to make a consolidated return, granted to an affiliated group of corporations, is "akin" to an exemption.  . The purpose for the granting of the privilege is stated in the Report of the Senate Finance Committee on the Revenue Bill of 1928, 70th Cong., 1st sess., S. Rept. 960, p. 14, as follows: 1The permission to file consolidated returns by affiliated*1208  corporations merely recognizes the business entity as distinguished from the legal corporate entity of the business enterprise.  Unless the affiliated group as a whole in the conduct of its business enterprise shows net profits, the individuals conducting the business have realized no gain.  The failure to recognize the entire business enterprise means drawing technical legal distinctions, as contrasted with the recognition of actual facts.  The mere fact that by legal fiction several corporations owned by the same stockholders are separate entities should not obscure the fact that they are in reality one and the same business owned by the same individuals and operated as a unit.  To refuse to recognize this situation and to require for tax purposes the breaking up of a single business into its constituent parts is just as unreasonable as to require a single corporation to report *375  separately for tax purposes the gains from its sales department, from its manufacturing activities, from its investments, and from each and every one of its agencies.  It would be just as unreasonable to demand that an individual engaged in two or more businesses treat each business separately*1209  for tax purposes.  Much of the misapprehension about consolidated returns will be removed when it is realized that it is only when the corporations are really but one corporation that the permission to file consolidated returns is given, and that no ultimate advantage under the tax laws really results. * * * [Italics supplied.] The purpose for the granting of the privilege is restated succinctly in the Report of the Senate Finance Committee on the Revenue Bill of 1932, 72d Cong., 1st sess., S. Rept. 665, p. 9, as follows: The provisions for consolidated returns under the present law and regulations recognize sound accounting practices and require tax liabilities to be determined on the basis*1210  of the total net income of the enterprise as a whole.  No improper benefits are obtained from the privilege. [Italics supplied.] The intent which underlies the granting of the privilege finds some expression in the provisions of subdivision (b) of section 141 of the Revenue Act of 1932, which provides as follows: (b) REGULATIONS. - The Commissioner, with the approval of the Secretary, shall prescribe such regulations as he may deem necessary in order that the tax liability of an affiliated group of corporations making a consolidated return and of each corporation in the group, both during and after the period of affiliation, may be determined, computed, assessed, collected, and adjusted in such manner as clearly to reflect the income and to prevent avoidance of tax liability.  It is apparent that the privilege was granted in order that the tax liability of a group of corporations which were combined for business purposes into one business unit might be based upon the true net income of the business unit.  The framers of the statute evidently believed and intended "that no ultimate advantage under the tax laws really results" from the granting of the privilege to make consolidated*1211  returns and that "No improper benefits are obtained from the privilege." It is believed that they did not intend that the privilege be enjoyed in cases where the affiliation relied upon as the basis for the privilege to make a consolidated return is without a business purpose.  The next question raised by respondent's contention is a question of fact as to whether or not the affiliation which is relied upon here served a business purpose, as distinguished from a tax-reducing purpose.  In our determination of this question, the close relationship between the time when petitioner acquired the stock of the Tire Co. for $1, and the time when the Tire Co. sustained the loss of $192,849.80 on the sale of its plant, seems very pertinent.  In the deficiency notice respondent determined that the Tire Co. sustained the loss on the sale of its plant to the Brewing Co. prior to petitioner's acquisition of the stock of the Tire Co.  The fact that the parties to the sale of the plant agreed that the Tire Co. was to pay the first installment, and the Brewing Co. was to pay the second installment, of the 1932-1933 state, *376  county, and city taxes, and the fact that they agreed, also, that*1212  the note to be delivered by the Brewing Co. was to be dated December 1, 1932, and bear interest from that date, indicate that it was the intention of the parties to the sale that the Brewing Co. was to take possession of the Tire Co.'s plant prior to February 20, 1933, the date when petitioner acquired the stock of the Tire Co.  Thus, although at the time of petitioner's acquisition of the stock of the Tire Co. the deed to the plant had not yet been delivered to the Brewing Co. and the Brewing Co. had not yet paid the balance of the selling price, there is some foundation for respondent's contention that the Tire Co. sustained the loss on the sale of its plant prior to the date of petitioner's acquisition of the stock of the Tire Co.  See ; . However, for present purposes, it is sufficient that at the time of petitioner's acquisition of the capital stock of the Tire Co., it was reasonably certain that the Tire Co. would sustain a loss on the sale of its plant in the immediate future.  Prior to the date on which petitioner acquired the stock of the Tire Co.*1213  , the brewing Co. had made a payment of $5,000 on account of the selling price; the Securities Co. had released the general mortgage on the plant of the Tire Co. and thus enabled the Tire Co. to perfect its title to the plant; and a policy of title insurance had been issued.  On the very same day on which petitioner acquired the stock of the Tire Co., the Tire Co. executed a deed conveying the plant to the Brewing Co. and delivered the deed to the escrow agent, and the Brewing Co. executed a mortgage on the plant in favor of the Tire Co. and delivered the mortgage to the escrow agent.  Within six weeks after the date of petitioner's acquisition of the stock, the sale of the plant had been consummated in full; the full consideration had been paid to the Tire Co. in cash and in notes; the deed to the plant had been delivered to the Brewing Co.; and the mortgage on the plant had been delivered to the Tire Co.In the deficiency notice, respondent determined that the transfer of the stock of the Tire Co. from the Securities Co. to the petitioner "served no business purposes except the reduction of tax liability." In our opinion, the record supports the respondent's determination.  In*1214  1927, the Tire Co. had ceased manufacturing operations.  In 1931, the Securities Co. had written down its investment in the stock of the Tire Co. from $9,175,149.94 to $1, and had taken a deduction for the resulting loss in its separate income tax return for that year.  In 1932, the Tire Co. had received a gross income of only $1,175.  This income was from storage rentals, and after the sale of the plant there would be no further income from that source.  It is pointed out that the Tire Co. was indebted to the Securities Co. on its notes, *377  given in exchange for its outstanding bonds, presumably in the sum of $500,000, the par value of the bonds received by the Tire Co. in exchange for its notes.  The $50,000 which was to be received by the Tire Co. on the sale of the plant would fall far short of satisfying the indebtedness owed by the Tire Co. to the Securities Co.  At the time of petitioner's acquisition of the stock of the Tire Co., that stock had no economic value.  The only benefit to petitioner in acquiring the stock in the Tire Co., was reduction of the tax liability of the affiliated group.  As pointed out above, respondent disallowed the claimed loss to petitioner*1215  and its affiliates on the ground that petitioner's acquisition of the stock of the Tire Co. "served no business purpose." There is nothing in the record to show the contrary.  Rather, it is shown that at the time petitioner acquired the stock of the Tire Co. for the nominal price of $1, the Tire Co. was insolvent; it was not engaged in the business it had been conducting prior thereto; and it had contracted to sell its assets, if it had not already sold them.  There is nothing to show that there was any intention of resuming the business of the Tire Co.  In fact, that company was dissolved in December of 1935.  Under the above facts and circumstances, it is not material that the Tire Co. received a small net income of about $1,500 in 1933 and of about $600 in 1934.  At the time petitioner acquired the stock in the Tire Co., the amount of the loss on the sale of that company's plant was readily ascertainable.  Petitioner assumed that the loss, for tax purposes, was one sustained in 1933.  The Securities Co., the former owner of the Tire Co., sustained a net loss in 1933 of $1,724,419.53, as is shown on its separate return.  The petitioner and its affiliates earned net income of $612,686.23, *1216  for 1933, as is shown by the consolidated return.  The patent advantage to petitioner in acquiring the Tire Co. stock was to enable the offsetting of the loss of the Tire Co. against the profits of the petitioner and its affiliates.  Petitioner relies on , claiming that the facts there are similar to the facts in this case.  The Bishop Trust Co. case is distinguishable.  In that case the stock of the subsidiary was acquired as a "bona fide business move." One of the purposes for the acquisition of the stock of the subsidiary was to enable the parent corporation to take over the business of the subsidiary.  Two years later the subsidiary was formally merged into the parent corporation.  Furthermore, in the Bishop Trust Co. case, there was no evidence that "tax reduction was a motive." The other cases cited by petitioner in support of his contention that "the sole criterion for affiliation contained in the statute is the ownership of the stock" are not in point, because they do not involve the question *378  of whether an affiliation which does not serve a business purpose, as distinguished from a tax-reducing*1217  purpose, is within the intent of the statute.  In , which is cited both by petitioner and by respondent, the parent corporation and the subsidiary became affiliated in 1927, and the question was whether net losses sustained by the subsidiary in the years 1925 and 1926 could be deducted in the consolidated income tax return filed by the affiliated group for the year 1927.  There was no suggestion that the affiliation did not serve a business purpose.  In holding that the net losses sustained by the subsidiary prior to affiliation could not be deducted in the consolidated return, the Supreme Court stated, through Mr. Justice Cardozo, in part, at pages 329 and 330, as follows: * * * A different ruling would mean that a prosperous corporation could buy the shares of one that had suffered heavy losses and wipe out thereby its own liability for taxes.  The mind rebels against the notion that Congress in permitting a consolidated return was willing to foster an opportunity for juggling so facile and so obvious. [Italics supplied.] In the broad sense, the same reasoning applies here.  If Congress did not intend that*1218  the privilege of making a consolidated return should be enjoyed by a corporation which acquired ownership of another corporation in order to take advantage of a loss already sustained by that corporation, it seems to follow that Congress did not intend that the privilege should be enjoyed by a corporation which acquired the ownership of another corporation in order to take advantage of a loss certain to be sustained by that corporation in the immediate future, particularly where the acquisition of the ownership of the other corporation served no business purpose.  The same general problem of statutory construction, which is involved here, was involved in . The Supreme Court held in the Gregory case that a "letter perfect" 2 reorganization which served no business purpose was not within the intent of the reorganization exemption provisions of the statute.  In this case, we find a parallel.  The alliliation in question, although "letter perfect", served no business purpose, and it does not, in our opinion, come within the intent of the affiliation provisions of the statute.  *1219  Since petitioner's ownership of the stock of the Tire Co. did not serve a business purpose, as distinguished from a tax-reducing purpose, it is held that the Tire Co. was not a member of the affiliated group within the intent of section 141 of the Revenue Act of 1932, *379  during the period in question.  Respondent's determination is sustained.  Respondent contends, in the alternative, that if the Tire Co. was a member of the affiliated group during the period in question, the loss on the sale of its plant was sustained prior to affiliation, and, that, therefore, under the provisions of article 41(c) of Regulations 78, the pertinent provisions of which are quoted in the margin, 3 the amount of the net loss sustained by the Tire Co. prior to affiliation which may be taken as a deduction in the consolidated return is limited to one dollar, the cost of the stock of the Tire Co. to petitioner.  Respondent's contention, in this respect, has considerable merit.  But, in view of our holding above, it is not necessary to pass upon respondent's alternative contention.  *1220 Decision will be entered under Rule 50.Footnotes1. In the Report of the senate Finance Committee on the Revenue Bill of 1932, 72d Cong., 1st sess., S. Rept. 665, p. 10, the following statement appears: "Your committee made a very exhaustive study and analysis of the entire subject of tax liabilities of affiliated groups of corporations, during its consideration of the revenue bill of 1928.  Its conclusions are set forth in its report upon the revenue bill of 1928.  It seems unnecessary to repeat them at the present time." ↩2. See Paul, Studies in Federal Taxation, 1937, p. 148. ↩3. (c) Net Loss Sustained by Separate Corporation Prior to Consolidated Return Period.A net loss sustained by a corporation for a taxable year prior to the taxable year in respect of which its income is included in the consolidated return of an affiliated group (including any net loss sustained for the taxable year 1931) shall be allowed as a deduction in computing the consolidated net income of such group in the same manner, to the same extent, and upon the same conditions as if the consolidated income were the income of such corporation; but in no case will any such net loss be allowed as a deduction in excess of the aggregate basis of the stock of such corporation to the members of the group. ↩